Case 5:18-cv-07041-LHK Document 1-3 Filed 11/20/18 Page 1 of 4




            EXHIBIT 3
Case 5:18-cv-07041-LHK Document 1-3 Filed 11/20/18 Page 2 of 4
     Case 5:18-cv-07041-LHK Document 1-3 Filed 11/20/18 Page 3 of 4




                                                                         Translated from Russian

Appendix 2: Message on blockage of Facebook public group
                            [Translation of main texts of screenshots]

3d of April

Hello,

Your Page Federal Agency of News [Федеральное агентство новостей] has been deleted for
violating our Terms of Service. Facebook page is a special presentation used for business or
advertising purposes. Please note that pages containing threats, offensive or indecent content are
prohibited. Additionally, Pages aimed against another user or group of users, as well as Pages
created by an unauthorized user will be deleted. If your Page has been deleted for one of the
foregoing reasons, it will not be restored. If you continue to use the site’s function
inappropriately, your account could be blocked.

The Facebook Team


3d of April

Hello,

Your Page Politics Today [Политика Сегодня] has been deleted for violating our Terms of
Service. Facebook page is a special presentation used for business or advertising purposes. Please
note that pages containing threats, offensive or indecent content are prohibited. Additionally,
Pages aimed against another user or group of users, as well as Pages created by an unauthorized
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The Facebook Team


3d of April

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foregoing reasons, it will not be restored. If you continue to use the site’s function
inappropriately, your account could be blocked.

The Facebook Team

                                                             [Stamp: TRUE COPY * GENERAL
                                                             DIRECTOR E.L. ZUBAREV]
Case 5:18-cv-07041-LHK Document 1-3 Filed 11/20/18 Page 4 of 4



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